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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 JONATHAN SINGLETON, et al.,                )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )      CASE NO. 2:20-CV-99-WKW
                                            )                [WO]
 CITY OF MONTGOMERY,                        )
 ALABAMA, et al.,                           )
                                            )
              Defendants.                   )

                                       ORDER

      On September 16, 2020, Jonathan Singleton, Ricky Vickery, and Micki

Holmes (“Plaintiffs”) and the City of Montgomery, Alabama (the “City”) filed a

Joint Motion to Approve their Stipulated Settlement Agreement. (Doc. # 56.) In

their motion, Plaintiffs and the City ask the court to retain jurisdiction to enforce the

Settlement Agreement and to dismiss Plaintiffs’ claims against the City only,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). In light of the joint

motion, the court has attached a proposed order addressing the relief sought by

Plaintiffs and the City.

      Accordingly, it is ORDERED that if either Plaintiffs or the City object to the

court’s proposed order, the objecting party shall show cause, in writing, on or before

November 23, 2020, as to the specific nature of the objection and shall provide

citation to any legal authority supporting the objection. It is further ORDERED that
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if no objection to the court’s proposed order exists, then Plaintiffs and the City shall

file a Notice on or before November 23, 2020, indicating as much.

      DONE this 5th day of November, 2020.

                                               /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE




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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
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 JONATHAN SINGLETON, et al.,                )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )      CASE NO. 2:20-CV-99-WKW
                                            )                [WO]
 CITY OF MONTGOMERY,                        )
 ALABAMA, et al.,                           )
                                            )
              Defendants.                   )

                                PROPOSED ORDER

      Jonathan Singleton, Ricky Vickery, and Micki Holmes (“Plaintiffs”) bring

this action against the City of Montgomery, Alabama (the “City”), Hal Taylor, in his

official capacity as Secretary of the Alabama Law Enforcement Agency, and Derrick

Cunningham, in his official capacity as Sheriff for Montgomery County, Alabama.

Plaintiffs seek class certification as well as declaratory and injunctive relief, alleging

that enforcement of Alabama Code §§ 13A-11-9(a)(1) and 32-5A-216(b) violates

their right to freedom of speech under the First Amendment as incorporated by the

Fourteenth Amendment to the United States Constitution.

      Plaintiffs and the City represent that they have reached a settlement agreement

that resolves this dispute with respect to Plaintiffs’ claims against the City only.

(Doc. # 56.) In the Joint Stipulation of Dismissal with Prejudice, Plaintiffs and the

City request the court to “retain jurisdiction to enforce the [settlement agreement]
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for three . . . years.” (Doc. # 56, at 2.) The settlement agreement primarily requires

that the City will not enforce either Alabama Code § 13A-11-9(a)(1) or Alabama

Code § 32-5A-216(b) pending a determination on the constitutionality of the

respective statutes. (Doc. # 56-1, at 5–6.) Further, the settlement agreement

provides for several contingencies based on the outcome of the remaining case

between Plaintiffs and Defendants Taylor and Cunningham. For instance, if the case

against Defendants Taylor and Cunningham is resolved without a ruling on the

constitutionality of the statutes at issue, then the City

      will continue to be bound to refrain from enforcing the [s]tatutes until
      the earlier of (i) ten . . . years from the date of an Order in this case
      dismissing the lawsuit against the City, or (ii) a ruling by the United
      States Eleventh Circuit Court of Appeals or the Alabama Supreme
      Court that the [s]tatutes are constitutional.

(Doc. # 56-1, at 5–6). Although this portion of the settlement agreement does not

contemplate it, a ruling from the United States Supreme Court holding the respective

statutes constitutional would also permit the City to begin enforcement.

      Moreover, in the event this case is resolved without any court ruling on the

constitutionality of the statutes, such that the City “is bound to refrain from enforcing

the [s]tatutes for the above mentioned ten-year period, Plaintiffs shall not be

precluded from renewing their claims against the [the City] after the expiration of




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the ten-year period should the City resume enforcing the [s]tatutes.” (Doc. # 56-1,

at 6.)

         “[F]or a district court to retain jurisdiction over a settlement agreement where

the parties dismiss the case by filing a stipulation of dismissal pursuant to Rule

41(a)(1)(A)(ii), either (1) the district court must issue the order retaining jurisdiction

under Kokkonen prior to the filing of the stipulation, or (2) the parties must condition

the effectiveness of the stipulation on the district court’s entry of an order retaining

jurisdiction.” Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1280 (11th Cir.

2012) (citing Kokkonen v. Guardian Life Ins. of Am., 511 U.S. 375 (1994) (footnote

omitted)). Here, Plaintiffs and the City have conditioned the effectiveness of the

stipulation on the entry of an order retaining jurisdiction. Based upon the nature of

this litigation and the represented terms of settlement, the court will retain

jurisdiction over the enforcement of the settlement agreement until November 24,

2023. By retaining jurisdiction, the court does not adopt any conclusions of law

contained in the settlement agreement.

         Accordingly, it is ORDERED as follows:

         (1) Plaintiffs and the City’s Joint Motion (Doc. # 56) is GRANTED

         (2) Plaintiffs’ action against the City of Montgomery is DISMISSED with

prejudice on the terms agreed to by Plaintiffs and the City;

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     (3) The court shall retain jurisdiction over the enforcement of the settlement

agreement until November 24, 2023; and

     (4) This action proceeds as to Plaintiffs’ action against the remaining

Defendants.

     DONE this ___ day of November, 2020.
                                                   /s/ W. Keith Watkins
                                             UNITED STATES DISTRICT JUDGE




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